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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

TOB LLC, et al.
                                                       Plaintiff,
v.                                                                  Case No.:
                                                                    1:23−cv−03378
                                                                    Honorable Jeremy C.
                                                                    Daniel
Partnerships and Unincorporated Associations
Identified on Schedule A, et al.
                                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, July 5, 2023:


         MINUTE entry before the Honorable Jeremy C. Daniel: Motion hearing held on
7/5/2023. Plaintiff's counsel and counsel for defendants group including Opulent,
OWAYIDA appeared in court. Plaintiff's voluntary dismissal pursuant to Rule
41(a)(1)(A)(i) of defendants Singing Monk [26], Hanstar [27], giftinabox, ZQDL−US, US
Ful Choices [28], BunniFair [29], SOGIV−Direct, MidianBuy, Permanentik, Festaum,
CREATIVECEF, AoJiao, LEQMG, CREATIVECHEF, vernilla, ItsNio Home, Hismok
Direct, Bioduck SOGIV−Direct [30] are granted. For the reasons stated on the record,
Plaintiff's Motion For Entry Of Preliminary Injunction [20] is denied. Written Minute
Order to follow. Law Office of David Gulbransen is ordered to add ALL Defendant names
listed in the Schedule A to the docket within three business days. Instructions can be
found on the court's website located at www.ilnd.uscourts.gov/instructions. Mailed notice
(cn).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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